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mSURANCE COMPANY )
)
Defendant, )

PETITION

COMBS NOW Plainnff, I-Ieather Yost, and for her cause of action against Defendant
Shelter Mutual ]`nsurance Company, states as follows:
1. ThePlaintiH`, Heaiher Yost, resides and is fha owner of a home located at 1001 N.

Wa]nut Court, Guthl'ie, Ok'lahoma.

2. At all times material hereto the Plaintiff, I-Ieather Yost., was insured under the
terms and conditions of Sl_;elter’s Dwelling lnsur.ance Rolioy, policy mmber'§$-

XX-XXXXXXX-1, issued by the Shelter Mutual lusurance Company.

3. On or about April ll, 2013, an incident occurred Whioh created a loss to the

Plainiiii"s home and certain personal eff`ects.

4. At all n'mcm material herer the PlaintI:E:`, Heathe.r Yost and her husband, complied

With the terms and conditions ofher Sheltex Dwol].ing Insurance Polioy.

EXH|B|T

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5. The Defendant, Slielter Mutual insurance Colnpany, was unreasonable in its
investigation and evaluation of Plainti:Et’s claims resulting in a partial denial of

benths on or about April 12, 2013.

6. 'I'he Dei`endant, Shelter Mutual Insurance Compan`y, did not and does not have a

good faith basis for withholding payment on the submitted claim

_ __,_ _ _7. __ __Tbe_ gets and omissions_p,f the Dcfendant, Sbelter Mutual lnsurance Colnpany, in.
the investigation evaluation and payment of Plaintiii's claims were unreasonable
and constitute a breach of contract for which contractual damages are hereby

sought.

8T Plaintift"s S]:lelter Dwelling Insurance Po]icy covers the I’lainb'£."’s loss and the
Defendant, shelter Mumal lnsumce Company, is not following its own policy to

`paythe benefits due nom the poliey.

9. The Defendarlt, Shelter insurance Con:lpanies was unreasonable in its
investigation1 evaluation and payment of Plainti§`s' claims. Said unreasonable
conduct constitutes bad faith for Which extra-contractual damages are hereby

sought against the Defendaut, Sl:lelter Mutual Instlranee Colnpau`y.

WHEREFORE, PlaintiH, I-Ieatber Yost, prays for judgment against The Defendant,
Shelter Mutual Insmance Colnpany, in an amount in excess of $7 5 ,000, plus interest, costs and

for any such other and further relief to which Plaindft`s may be entitled

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Respectt`ully submitted
FOSHEE & YA.FFE

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law W. l~;é§hé'e, osA# '3045
Terry McKeever, OBA# 21751
Tyloi W. Huddlesron, olsA# 31385
P.o. Box 890420 _

- - ~ Olclahoma Ctty, oK 73189
Telephone: (405) 632-6668
Facsirnile: (405) 632-3036

tylorh@fylaw.com

